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 4                                                                 JS-6
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 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9    UNITED STATES OF AMERICA                ) Case No: CV 16-03268-JFW (KSx)
      ex rel. ARTHUR AFIONYAN, and            )
10    STATE OF CALIFORNIA ex rel.             )
      AFIONYAN                                )
11                                            )
                   Plaintiffs,                )
12                                            )
            vs.                               )
13                                            ) JOINT JUDGMENT
      PEDORTHIC LAB SPECIALIST                )
14
      CUSTOM SHOE CO.                         )
                                              )
15                                            ) Hon. John F. Walter
                   Defendant.                 )
16                                            )
      _____________________________
17
18
            On April 9, 2018, Defendant PLS DIABETIC SHOE COMPANY (“PLS”),
19
      erroneously sued as Pedorthic Lab Specialist Custom Shoe Co., filed a Motion for
20
      Summary Judgment pursuant to Federal Rule of Civil Procedure 56 and Request
21
      for Attorneys’ Fees and Costs. On April 23, 2018, Plaintiff/Relator Arthur
22
      Afionyan filed his Opposition. On April 30, 2018, PLS filed its Reply.
23
            In addition, on April 9, 2018, PLS filed a Motion for Judgment on the
24
      Pleadings pursuant to Federal Rule of Civil Procedure 12(c) and Request for
25
      Attorneys’ Fees and Costs. On April 23, 2018, Relator filed an Opposition. On
26
      April 30, 2018, PLS field its Reply.
27
            On May 10, 2018, pursuant to Rule 78(b) of the Federal Rules of Civil
28
      Procedure and Local Rule 7-15, the Court found the matters appropriate for

                                             JUDGMENT

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 1    submission on the papers without oral argument. The matters were, therefore,
 2    removed from the Court’s May 14, 2018 hearing calendar.
 3          On May 18, 2018, the Court GRANTED PLS’s Motion for Summary
 4    Judgment in its entirety. In light of that ruling the Court DENIED PLS’s Motion
 5    for Judgment on the Pleadings as moot. The Court also DENIED PLS’s request
 6    for attorneys’ fees and costs.
 7          Therefore, it is hereby ORDERED, ADJUDGED AND DECREED THAT
 8    Plaintiff/Relator ARTHUR AFIONYAN take nothing from defendant PLS
 9    DIABETIC SHOE COMPANY, and that the action be dismissed on the merits.
10
11
12    IT IS SO ORDERED.

13
14
      Dated: May 24, 2018                          ______________________________
15
                                                   The Honorable John F. Walter
16                                                 United States District Judge
17
      Approved as to form by counsel for the parties.
18
      Dated: May 24, 2018                                HENNIG RUIZ & SINGH
19
20                                                 By:   /s/ Rob Hennig___________
                                                         Rob Hennig
21                                                       ShosheeHui
                                                         Attorneys for Relator
22                                                       ARTHUR AFIONYAN
23
      Dated: May 23, 2018                                MARTIROSYAN P.C.
24
                                                         /s/ Edgar Martirosyan
25                                                       Edgar Martirosyan, Esq.
26                                                       Attorney for Defendant,
                                                         PLS DIABETIC SHOE
27                                                       COMPANY
28


                                         JUDGMENT

                                               2
